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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )          8:04CR140
             Plaintiff,                     )
                                            )          REPORT,
      vs.                                   )          RECOMMENDATION
                                            )          AND ORDER
ANDREW M. BLOOMQUIST,                       )
                                            )
             Defendant.                     )

       After orally consenting to proceed before a magistrate judge, the defendant,
together with counsel and in the presence of counsel for government, appeared before
the undersigned and tendered a plea of guilty. Before doing so, defendant was advised
of the charges, the penalties and the right to appear before a United States District
Judge.

       After being sworn, the defendant was orally examined by me in open court as
required by Federal Rule of Criminal Procedure 11. The defendant was also given the
advice required by that Rule. Finally, the defendant was given a full opportunity to
address the court, and ask questions.

        Counsel for the government and counsel for the defendant were given the
opportunity to suggest additional questions by the court. Moreover, both counsel orally
certified that they were of the opinion that the plea was knowing, intelligent and
voluntary and that there was a factual basis for the plea.

       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and
voluntary; (2) there is a factual basis for the plea; (3) the provisions of Rule 11 and any
other provisions of the law governing the submission of guilty pleas have been
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complied with; (4) a petition to enter a plea of guilty, on a form approved by the court,
was completed by the defendant, defendant’s counsel and counsel for the government,
accompanied the defendant’s plea, and was placed in the court file; (5) any plea
agreement is in writing and is attached to the petition to enter a plea of guilty; (6) there
are no agreements or stipulations other than the written plea agreement, if any, attached
to the petition to enter a plea of guilty; (7) defendant did sign a Blakely Waiver.

      IT IS RECOMMENDED to Judge Thomas M. Shanahan that, after de novo
review,
      he accept the guilty plea and find the defendant guilty of the crime(s) to which
      the defendant tendered a guilty plea; and
[]    he accept any written plea agreement attached to the petition to enter a plea of
      guilty understanding that such acceptance is subject to the provisions of
      U.S.S.G. § 6B1.4(d) ("The court is not bound by the stipulation, but may with
      the aid of the presentence report, determine the facts relevant to sentencing");
[X] he not accept the plea agreement at this time, but rather that he consider the Rule
      11(c)(1)(C) agreement at sentencing.

       IT IS ORDERED that if any party desires to object to this report and
recommendation, they shall do so no later than 10 calendar days following the date of
this report and recommendation or they may be deemed to have waived the right to
object to adoption of the report and recommendation.

       DATED this 29th day of October, 2004.

                                                  BY THE COURT:


                                                  s/ F. A. Gossett
                                                  United States Magistrate Judge



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